Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 1 of 9 Page ID #:1




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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11
          Andres Gomez,                          Case No.

12                Plaintiff,
                                                 Complaint For Damages And
13          v.                                   Injunctive Relief For Violations
                                                 Of: American’s With Disabilities
14        Tribecca, Inc., a California           Act; Unruh Civil Rights Act
          Corporation; and Does 1-10,
15                Defendant.
16
17
              Plaintiff Andres Gomez (“Plaintiff”) complains of Tribecca Inc., a
18
      California Corporation; and Does 1-10 (“Defendant”), and alleges as follows:
19
          PARTIES:
20
          1. Plaintiff is a visually-impaired individual and a member of a protected
21
      class of persons under the Americans with Disabilities Act. Plaintiff uses JAWS
22
      to access the internet and consume website content using his computer, as well
23
      as Talkbalk or similar software to navigate websites and applications on mobile
24
      devices. Plaintiff is legally blind 1 and cannot use a computer without
25
26    1
       Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27    refer to individuals, including himself, who meet the legal definition of
28    blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
      these criteria have no vision, others have limited vision.

                                             1

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 2 of 9 Page ID #:2




 1    assistance of screen-reader software (“SRS”).
 2      2. Defendant Tribecca Inc. owned or operated the 699 Rent A Car (“Car
 3    Rentals”) located at or about 11223 Venice Blvd, West Los Angeles,
 4    California, 1415 N. La Brea Ave, Hollywood, California, 14339 Victory Blvd,
 5    San Fernando Valley, California, 11616 Amigo Ave, Porter Ranch, California
 6    in July 2020.
 7      3. Defendant Tribecca Inc. owns and/or operates the Car Rentals located
 8    at or about 11223 Venice Blvd, West Los Angeles, California, 1415 N. La Brea
 9    Ave, Hollywood, California, 14339 Victory Blvd, San Fernando Valley,
10    California and 1616 Amigo Ave, Porter Ranch, California currently.
11      4. Defendant Tribecca Inc. owned or operated the Car Rentals’ website in
12    July 2020.
13      5. Defendant Tribecca Inc. owns or operates the Car Rentals’ website
14    currently.
15      6. Plaintiff does not know the true names of Defendants, their business
16    capacities, their ownership connection to the property and business, or their
17    relative responsibilities in causing the access violations herein complained of,
18    and alleges a joint venture and common enterprise by all such Defendants.
19    Plaintiff is informed and believes that each of the Defendants herein,
20    including Does 1 through 10, inclusive, is responsible in some capacity for the
21    events herein alleged, or is a necessary party for obtaining appropriate relief.
22    Plaintiff will seek leave to amend when the true names, capacities,
23    connections, and responsibilities of the Defendants and Does 1 through 10,
24    inclusive, are ascertained.
25
26      JURISDICTION & VENUE:
27      7. The Court has subject matter jurisdiction over the action pursuant to 28
28    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with


                                             2

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 3 of 9 Page ID #:3




 1    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
 2        8. This court has supplemental jurisdiction over Plaintiff’s non-federal
 3    claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
 4    formed from the same case and/or controversy and are related to Plaintiff’s
 5    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
 6        9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
 7    is subject to personal jurisdiction in this District due to its business contacts
 8    with the District, and a substantial portion of the complained of conduct
 9    occurred in this District.
10
11        FACTUAL ALLEGATIONS:
12        10. Plaintiff is a legally blind person and a member of a protected class
13    under the ADA. Plaintiff is proficient with and uses SRS to access the internet
14    and read internet content on his computer and mobile devices.
15        11. Plaintiff cannot use a computer without the assistance of screen reader
16    software. (“SRS”).
17        12. The Car Rentals are “brick and mortar” facilities in Los Angeles County,
18    California open to the public, places of public accommodation, and business
19    establishments.
20        13. The Car Rentals offer websites and digital booking as some of the
21    facilities, privileges, and advantages offered by Defendants to patrons of the
22    Car Rentals in connection with their patronage at the Car Rentals 2.
23        14. Among the services offered include: details about vehicles and the Car
24    Rentals, location and contact information, Car Rentals’ policies, guide,
25    information about rates and availability and offers the ability to quickly book
26    a car without any ambiguity as to the amenities that would be available to the
27
28
      2
       This website could be accessed at: https://www.699rentacar.com/as of
      July 2020

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      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 4 of 9 Page ID #:4




 1    patron.
 2      15. Plaintiff was a prospective customer who wished to access Defendant’s
 3    website and services.
 4      16. Plaintiff visited the Car Rentals’ website in July 2020 with the intent to
 5    check out the vehicle rental prices, Car Rentals information, special offers and
 6    promotions.
 7      17. When Plaintiff attempted to navigate the Car Rentals’ website, Plaintiff
 8    encountered numerous accessibility design faults that prevented him from
 9    navigating the site successfully using SRS. Investigation into his experience
10    revealed barriers, including, but not limited to:
11                    a. Lack of a button/link/function to adjust the website format
12                        to one that is fully readable by SRS and/or to adjust the
13                        font.
14                    b. Numerous images on the website lack a text equivalent
15                        readable by SRS.
16                    c. The website contains empty link and button resulting in
17                        additional and inefficient navigation by SRS users.
18                    d. Form control does not have a properly associated text label
19                    e. Empty heading that presents no information and may
20                        introduce confusion to screen reader users.
21                    f. The visualization of the webpage contains impermissibly
22                        low contrast enabling differentiation of background and
23                        foreground elements.
24      18. Currently, the defendants either fail to provide an accessible website or
25    Defendants have failed to maintain in working and useable conditions those
26    website features required to provide ready access to persons with disabilities.
27      19. Despite multiple attempts to access 699rentacar.com using his
28    computer and mobile device, Plaintiff has been denied the full use and


                                              4

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 5 of 9 Page ID #:5




 1    enjoyment of the facilities, goods and services offered by Defendant as a result
 2    of the accessibility barriers on 699rentacar.com.
 3      20. Plaintiff personally encountered accessibility barriers and has actual
 4    knowledge of them.
 5      21. By failing to provide an accessible website, the defendants denied the
 6    plaintiff full and equal access to the facilities privileges or advantages offered
 7    to their customers.
 8      22. Plaintiff has been deterred from returning to the website as a result of
 9    these prior experiences.
10      23. The failure to provide accessible facilities created difficulty and
11    discomfort for the Plaintiff.
12      24. If the website had been constructed equally accessible to all individuals,
13    Plaintiff would have been able to navigate the website and check out the
14    vehicle rental prices, Car Rentals’ information, special offers and promotions
15    and rent a car.
16      25. Additionally, Plaintiff is a tester in this litigation and seeks future
17    compliance with all federal and state laws. Plaintiff will return to the Car
18    Rentals’ website to avail himself of its goods and/or services and to determine
19    compliance with the disability access laws once it is represented to him that
20    the Car Rentals, its website, and its facilities are accessible.
21      26. Plaintiff is currently deterred from doing so because of his knowledge
22    of the existing barriers and his uncertainty about the existence of yet other
23    barriers on the site. If the barriers are not removed, the plaintiff will face
24    unlawful and discriminatory barriers again.
25      27. The barriers identified above violate easily accessible, well-established
26    industry standard guidelines for making websites accessible to people with
27    visual-impairments that use SRS to access websites. Given the prevalence of
28    websites that have implemented these standards and created accessible


                                               5

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 6 of 9 Page ID #:6




 1    websites, it is readily achievable to construct an accessible website without
 2    undue burden on the Car Rentals or a fundamental alteration of the purpose
 3    of the website.
 4      28. Compliance with W3C Web Content Accessibility Guidelines
 5    (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
 6    standard that has been adopted by California courts for website accessibility.
 7      29. It’s been established that failure to remove these inaccessible conditions
 8    violates the ADA and California law and requiring compliance with industry
 9    access standards is a remedy available to the plaintiff.
10      30. The website was intentionally designed, and based on information and
11    belief, it is the Defendants’, policy and practice to deny Plaintiff access to the
12    Car Rentals’ website, and as a result, deny the goods and services that are
13    otherwise available to patrons of the Car Rentals.
14      31. Due to the failure to construct and operate the website in line with
15    industry standards, Plaintiff has been denied equal access to Defendant’s Car
16    Rentals and the various goods, services, privileges, opportunities and benefits
17    offered to the public by the Car Rentals.
18      32. Given the nature of the barriers and violations alleged herein, the
19    plaintiff alleges, on information and belief, that there are other violations and
20    barriers on the website, and/or at the Car Rentals, that relate to his disability.
21    Plaintiff intends to seek removal of all barriers on the website and at Car
22    Rentals that relate to his disability. See Doran v. 7-Eleven (9th Cir. 2008) 524
23    F.3d 1034 (holding that once a plaintiff encounters one barrier, they can sue
24    to have all barriers that relate to their disability removed regardless of whether
25    they personally encountered the barrier).
26      33. Plaintiff will amend the complaint, to provide further notice regarding
27    the scope of the additional demanded remediation in the event additional
28    barriers are uncovered through discovery. However, please be on notice that


                                              6

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 7 of 9 Page ID #:7




 1    the plaintiff seeks to have all barriers related to his disability remedied.
 2
 3    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 4    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 5    Defendants.) (42 U.S.C. section 12101, et seq.)
 6      34. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 7    again herein, the allegations contained in all prior paragraphs of this
 8    complaint. The Car Rentals is a public accommodation with the definition of
 9    Title III of the ADA, 42 USC § 12181.
10      35. The website provided by the Car Rentals is a service, privilege or
11    advantage of the Car Rentals’ brick and mortar facility.
12      36. When a business provides services such as a website, it must provide an
13    accessible website.
14      37. Here, an accessible website has not been provided. A failure to provide
15    an accessible website is unlawful discrimination against persons with
16    disabilities.
17      38. Under the ADA, it is an act of discrimination to fail to ensure that the
18    privileges, advantages, accommodations, facilities, goods and services of any
19    place of public accommodation is offered on a full and equal basis by anyone
20    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
21    § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
22    reasonable modifications in policies, practices, or procedures, when such
23    modifications are necessary to afford goods, services, facilities, privileges,
24    advantages, or accommodations to individuals with disabilities, unless the
25    accommodation would work a fundamental alteration of those services and
26    facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
27      39. Here, the failure to ensure that the accessible facilities were available
28    and ready to be used by the plaintiff is a violation of the law.


                                               7

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 8 of 9 Page ID #:8




 1      40. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
 2    set forth and incorporated therein, Plaintiff requests relief as set forth below.
 3
 4    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 5    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 6    Code § 51-53.)
 7      41. Plaintiff repleads and incorporates by reference, as if fully set forth
 8    again herein, the allegations contained in all prior paragraphs of this
 9    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
10    that persons with disabilities are entitled to full and equal accommodations,
11    advantages, facilities, privileges, or services in all business establishment of
12    every kind whatsoever within the jurisdiction of the State of California. Cal.
13    Civ. Code §51(b).
14      42. The Unruh Act provides that a violation of the ADA is a violation of the
15    Unruh Act. Cal. Civ. Code § 51(f).
16      43. Defendants’ acts and omissions, as herein alleged, have violated the
17    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
18    rights to full and equal use of the accommodations, advantages, facilities,
19    privileges, or services offered.
20      44. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
21    discomfort or embarrassment for the plaintiff, the defendants are also each
22    responsible for statutory damages, i.e., a civil penalty. Civ. Code § 55.56(a)-(c).
23      45. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
24    set forth and incorporated therein, Plaintiff requests relief as set forth below.
25
26           PRAYER:
27           Wherefore, Plaintiff prays that this Court award damages and provide
28    relief as follows:


                                               8

      Complaint
Case 2:20-cv-06894-DSF-AFM Document 1 Filed 07/31/20 Page 9 of 9 Page ID #:9




 1          1. A Declaratory Judgment that at the commencement of this action
 2    Defendants were in violation of the requirements of the ADA due to
 3    Defendants’ failures to take action to ensure that its websites are fully
 4    accessible to and independently usable by blind and visually-impaired
 5    individuals.
 6          2. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
 7    enjoining Defendants from violation the ADA with respect to its website.
 8          3. Damages under the Unruh Civil Rights Act § 51 3, which provides for
 9    actual damages and a statutory minimum of $4,000 for each offense.
10          4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
      Dated: July 27, 2020                CENTER FOR DISABILITY ACCESS
13
14                                        By:
15
16                                        ______________________________

17                                              Russell Handy, Esq.
                                                Attorney for Plaintiff
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27    3
          Note: the Plaintiff is not invoking section 55 of the California Civil Code and
28    is not seeking injunctive relief under the Disabled Persons Act at all.


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      Complaint
